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     ATTEST: Frank G. Johns, CLERK
                                                                                     STATESVILLE, NC

     BY::                            UNITED STATES JUDICIAL PANEL                         AUG 5 2020
     DEPUTY CLERK                                 on
                                       MULTIDISTRICT LITIGATION                      U.S. District Court
                                                                                    Western District of NC

IN RE: LOWE’S COMPANIES, INC., FAIR LABOR STANDARDS                                     MDL No. 2947
ACT (FLSA) AND WAGE AND HOUR LITIGATION


                                           TRANSFER ORDER


         Before the Panel: Common defendants Lowe’s Companies, Inc. and Lowe’s Home Centers,
LLC (together, Lowe’s) , move under 28 U.S.C. § 1407 to centralize this litigation in the Western
District of North Carolina. This litigation currently consists of 19 actions pending in 19 districts,
as listed on Schedule A.

        Plaintiffs in all actions oppose centralization. In the event that the actions are centralized
over their objection, they agree that the Western District of North Carolina is the appropriate district.

         On the basis of the papers filed and the hearing session held,1 we find that these actions
involve common questions of fact, and that centralization in the Western District of North Carolina
will serve the convenience of the parties and witnesses and promote the just and efficient conduct
of this litigation. All actions share factual questions arising from nearly identical allegations that
Lowe’s fails to compensate Hourly Managers at its retail stores for work performed off-the-clock
– principally, time spent opening and closing the stores when they cannot be logged on to Lowe’s
timekeeping system and time spent reading and responding to work-related smartphone
communications while off duty. Additionally, the actions involve putative statewide classes that
overlap with the conditionally certified nationwide FLSA collective in Danford.2 Centralization will
eliminate duplicative discovery; prevent inconsistent pretrial rulings (on FLSA certification, class
certification, and other matters); and conserve the resources of the parties, their counsel, and the
judiciary.

        In opposing centralization, plaintiffs principally argue that (1) informal coordination is a
practicable and preferable alternative to centralization, noting that plaintiffs in all actions are
represented by the same counsel, and defendant Lowe’s also has a single counsel acting as lead


        1
               In light of the concerns about the spread of COVID-19 virus (coronavirus), the Panel
heard oral argument by videoconference at its hearing session of July 30, 2020. See Suppl. Notice
of Hearing Session, MDL No. 2947 (J.P.M.L. July 14, 2020), ECF No. 22.
        2
                The 18 putative statewide class actions filed outside of North Carolina also overlap
with the putative nationwide class in Danford. At oral argument, plaintiffs’ counsel stated that
plaintiffs in Danford will not move for certification of the proposed nationwide class. The potential
abandonment of the nationwide class allegations in Danford does not alter our analysis.


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counsel in all actions; (2) Danford is more advanced than the other actions; and (3) localized issues
are likely to arise in the 18 state law actions as Lowe’s is expected to oppose class certification
based on localized differences between stores. In response, defendants argue that the large number
of districts makes informal coordination difficult and inefficient, and will not avoid the risk of
inconsistent rulings. Defendants further assert that the inadequacy of informal coordination is clear
from plaintiff’s representation in related state court actions that formal coordination in a single
forum is needed to efficiently manage discovery and avoid inconsistent rulings. They also argue that
site-specific issues should not preclude centralization, considering plaintiff’s allegation of
“common and systemic payroll policies and practices” as to the conduct at issue. And they represent
that Danford remains at an early stage of discovery – in particular, no depositions of Lowe’s have
been taken and there have been no significant document productions on the common issues.

         On balance, we find that centralization is preferable to informal coordination in this
litigation. While we strongly encourage informal coordination, the record before us indicates that
it is impracticable in this litigation. There are 19 actions pending in 19 different districts and related
litigation in state courts. Additionally, we believe that the overlapping issues presented by the
nationwide FLSA action and the putative Rule 23 classes are best managed in a single venue,
considering in particular that plaintiffs in nearly all of the state-specific actions are opt-in plaintiffs
in the Danford action.3 All actions remain at a relatively early stage of pretrial proceedings,
including Danford, and will benefit from common discovery as to the company-wide conduct
alleged by plaintiffs.

        We conclude that the Western District of North Carolina is an appropriate transferee forum.
Lowe’s, the sole defendant in all actions, has its headquarters there, and thus relevant documents and
witnesses likely will be located in this district. Plaintiffs agree that this district is appropriate if the
actions are centralized. The Honorable Kenneth D. Bell, Sr., who presides over the Danford action,
is familiar with the issues in this litigation. We are confident he will steer this matter on a prudent
course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Western District of North Carolina are transferred to the Western District of North Carolina and,
with the consent of that court, assigned to the Honorable Kenneth D. Bell, Sr., for coordinated or
consolidated pretrial proceedings.




        3
              See, e.g., In re Amazon.com, Inc. Fulfillment Ctr. Fair Labor Standards Act (FLSA)
& Wage & Hour Litig., 999 F. Supp. 2d 1375, 1376 (J.P.M.L. 2014) (“Given the overlap in the
FLSA collective action certification issues and the Rule 23 proposed classes, the litigation will
benefit from management in a single venue.”).


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                          PANEL ON MULTIDISTRICT LITIGATION




                                        Karen K. Caldwell
                                            Chair

                       Ellen Segal Huvelle       R. David Proctor
                       Catherine D. Perry        Nathaniel M. Gorton
                       Matthew F. Kennelly       David C. Norton




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IN RE: LOWE’S COMPANIES, INC., FAIR LABOR STANDARDS                 MDL No. 2947
ACT (FLSA) AND WAGE AND HOUR LITIGATION


                                       SCHEDULE A


           District of Arizona

     GROVE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-00586

           Eastern District of Arkansas

     ESTES, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20-00289

           District of Colorado

     BOGAERT, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20-00695

           District of Connecticut

     BELASKI v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 3:20-00343

           Central District of Illinois

     FITZSIMMONS, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20-01109

           Western District of Kentucky

     ANDERSON, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 3:20-00189

           District of Maryland

     HYDE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20-00678

           District of Massachusetts

     ROY, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20-40029

           District of Minnesota

     NEAL v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 0:20-01003

           Western District of Missouri



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NELSON, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20-00190

      District of Nevada

RICKS, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-00515

      District of New Jersey

GERBER, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-02773

      District of New Mexico

MARTINEZ, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-00234

      Eastern District of New York

TIRADO v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 1:20-01472

      Western District of North Carolina

DANFORD, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 5:19-00041

      Southern District of Ohio

RUMPKE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-01411

      District of South Carolina

FORTE, ET AL. v. LOWE'S COMPANY, INC., ET AL., C.A. No. 2:20-01108

      Eastern District of Washington

CLEAVENGER, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 4:20-05049

      Southern District of West Virginia

BOYCE, ET AL. v. LOWE'S COMPANIES, INC., ET AL., C.A. No. 2:20-00228




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